Case 2:20-cv-06122-PA-MRW Document 38 Filed 10/06/21 Page 1 of 1 Page ID #:232


 1                                                                                         JS-6
 2
 3
 4
 5
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11   MARISELA ARCEO, et al.,                      Case No. CV 20-6122 PA (MRWx)
12                        Plaintiffs,             JUDGMENT OF DISMISSAL
13
            v.
14
     UNITED STATES OF AMERICA,
15
                          Defendant.
16
17
18          In accordance with the Court’s October 6, 2021 Minute Order dismissing this action
19   for lack of prosecution, it is HEREBY ORDERED, ADJUDGED, AND DECREED that the
20   action is dismissed without prejudice.
21
22    DATED: October 6, 2021                       ___________________________________
                                                              Percy Anderson
23                                                   UNITED STATES DISTRICT JUDGE

24
25
26
27
28
